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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

ROY STEWART MOORE and )
KAYLA MOORE, )
)
Plaintiffs, )
)

v. ) Case No. 1:18-cv-02082
)
SACHA NOAM BARON COHEN, )
SHOWTIME NETWORKS, lNC., and )
CBS CORPORATION, )
)
Defendants. )

ORDER

Upon consideration of the Motion to Correct Prior Filings by Defendants Sacha Noarn
Baron Cohen, Showtime Networks Inc., and CBS Corporation (“Defendants”), it is

ORDERED that Defendants’ motion is granted, and that the prior filings by Defendants
(ECF Nos. 4, 5, 6, 9, ll, 12 and 18) may remain on the docket and in effect, as corrected by the
Notices of Errata (ECF Nos. 25-31), and attorney Lisa B. Zycherman (D.C. Bar Number

495277) is substituted nunc pro tunc as counsel signing each such filing.

fn
Datedthis£day of grow/c ,2019.

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Hon. Thomas F. Hog§ii ,
United States District ge

 

